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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DONALD J. TRUMP; THE TRUMP
 ORGANIZATION, INC.; TRUMP
 ORGANIZATION LLC; TRUMP
 CORPORATION; DJT HOLDINGS LLC;
 THE DONALD J. TRUMP REVOCABLE
 TRUST; and TRUMP OLD POST OFFICE
 LLC,

                               Plaintiffs,

           v.                                              Case No. 1:19-cv-01136-APM

 MAZARS USA LLP,

                               Defendant,

 COMMITTEE ON OVERSIGHT AND
 REFORM OF THE U.S. HOUSE OF
 REPRESENTATIVES,

                    Intervenor-Defendant.



                                  JOINT STATUS REPORT

       Pursuant to this Court’s February 24, 2021 order, the parties submit this joint status report

to propose a schedule for further proceedings in this matter.

       As an initial matter, Defendant-Intervenor the Committee on Oversight and Reform of

the U.S. House of Representatives (the Committee) reissued the subpoena at issue to Mazars

USA LLP on February 25, 2021. A copy of the reissued subpoena is attached to this filing.

Chairwoman Maloney also issued a statement to Members of the Committee on February 23.1

       The parties jointly propose that the Court proceed with summary judgment on the


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        Memorandum from Chairwoman Carolyn B. Maloney to Members of the Committee on
Oversight and Reform (Feb. 23, 2021), https://perma.cc/JF8Q-2NY5.
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following schedule: (1) plaintiffs’ motion for summary judgment would be due on April 5,

2021; (2) the Committee’s opposition and any cross-motion for summary judgment would be due

on May 5, 2021; (3) plaintiffs’ reply brief and any opposition would be due on May 19, 2021;

and (4) any reply by the Committee would be due on June 2, 2021. The parties respectfully

request that the Court schedule a summary judgment hearing as soon as practicable after briefing

is complete.

       The Oversight Committee agrees to voluntarily stay the return date of the subpoena

pending this Court’s resolution of the subpoena’s enforceability.

       Mazars USA LLP has represented that it does not intend to participate in the briefing

schedule.

                                             Respectfully submitted,

                                             /s/ Douglas N. Letter
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                                             Oversight and Reform of the U.S. House of
                                             Representatives

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                                   Counsel for Defendant Mazars USA LLP

March 2, 2021




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                                CERTIFICATE OF SERVICE

       I certify that on March 2, 2020, I caused the foregoing document to be filed via this

Court’s CM/ECF system, which I understand caused service on all registered parties.



                                                    /s/ Douglas N. Letter
                                                    Douglas N. Letter
